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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 21-cr-382 (PLF)
                                              :
CHRISTOPHER WARNAGIRIS,                       :
                                              :
                       Defendant.             :

             UNITED STATES’ NOTICE OF SUPPLEMENAL AUTHORITY
               REGARDING THE CONSTRUCTION OF 18 U.S.C. § 1752

       The government hereby submits this notice of supplemental authority to inform the Court

of an oral ruling made by the Honorable Dabney L. Friedrich on March 14, 2024, in United States

v. Chambers, No. 23-cr-300 (DLF), which adopted the government’s position that the requirement,

under 18 U.S.C. § 1752, that “the President or other person protected by the Secret Service is or

will be temporarily visiting,” id. § 1752(c)(1)(B), is “jurisdictional” for mens rea purposes. The

government files this notice in light of the notices filed by the defendant on January 6, 2024, ECF

No. 108, and February 9, 2024, ECF No. 114.

       In her ruling, Judge Friedrich concluded that the “knowingly” mens rea in 18 U.S.C.

§ 1752(a)(1) and (2) does not require knowledge of a Secret Service protectee’s presence within

the restricted area. Judge Friedrich found that “the fairest, most reasonable reading of the statute

is that the statutory provision regarding the Secret Service protectee, here the vice president, is a

jurisdictional element and therefore is exempt from the mens rea requirement that the defendant

act knowingly with regard to that provision.” Chambers 3/14/24 Tr. 13. In reaching that result,

Judge Friedrich was “in agreement with” United States v. Carnell, No. 23-139 (BAH), 2024 WL

639842 (D.D.C. Feb. 15, 2024). Chambers 3/14/24 Tr. 13.
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                               Respectfully Submitted,

                               MATTHEW M. GRAVES
                               United States Attorney
                               D.C. Bar No. 481052

                         By:   /s/ Andrew Haag
                               ANDREW HAAG
                               Assistant United States Attorney
                               Massachusetts Bar No. 705425
                               601 D Street NW
                               Washington, D.C. 20530
                               (202) 252-7755
                               andrew.haag@usdoj.gov

                               /s/ Rebekah Lederer
                               REBEKAH LEDERER
                               Assistant United States Attorney
                               Pennsylvania Bar No. 320922
                               601 D Street NW
                               Washington, D.C. 20530
                               (202) 252-7012
                               rebekah.lederer@usdoj.gov




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